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                        IN THE UNITED STATES DISTRICT COURT

                         FOR THE EASTERN DISTRICT OF TEXAS

                                       TYLER DIVISION



UNITED STATES OF AMERICA                         §

Vs.                                              §           CRIMINAL ACTION 6:06CR52(2)

MICHELLE SUSAN McKAY                             §

            FINDINGS OF FACT AND RECOMMENDATION ON FELONY GUILTY
                  PLEA BEFORE UNITED STATES MAGISTRATE JUDGE


       Pursuant to 28 U.S.C. § 636(b), this matter has been referred by the District Judge for

administration of the guilty plea and allocution under Rule 11 of the Federal Rules of Civil

Procedure.

       On the 25th day of October, 2006, this cause came before the undersigned United States

Magistrate Judge for Guilty Plea and Allocution of the Defendant, Michelle Susan McKay, on the

7-Count Superseding Indictment filed herein charging her with violations of Title 21, United States

Code, Sections 846 and 841(c)(1) and Title 18, United States Code, Section 2. After conducting the

proceeding in the form and manner prescribed by Fed.R.Crim.P. 11, the Court finds:

       a.      That the Defendant, after consultation with counsel of record, has knowingly and
               voluntarily consented to the administration of the Guilty Plea and Allocution in this
               cause by a United States Magistrate Judge subject to a final approval and imposition
               of sentence by the District Judge.

       b.      That the Defendant pled guilty to Count 2 of the Superseding Indictment, pursuant
               to a plea agreement with the Government which has been filed and disclosed in open
               court pursuant to Fed.R.CrimP. 11(c)(2). Count 2 of the Superseding Indictment
               charges the Defendant with possession of a List 1 Chemical, in violation of Title 21,


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               United States Code, Section 841(c)(1).

       c.      That the Defendant is fully competent and capable of entering an informed plea, that
               the Defendant is aware of the nature of the charges and the consequences of the plea,
               and that the plea of guilty is a knowing and voluntary plea supported by an
               independent basis in fact containing each of the essential elements of the offenses.

       IT IS THEREFORE the recommendation of the undersigned United States Magistrate

Judge that the District Judge accept the Plea Agreement and the Guilty Plea of the Defendant, with

acceptance of the plea agreement conditional upon a review of the presentence report, and that the

Defendant, MICHELLE SUSAN McKAY, be finally adjudged guilty of that offense.

       The United States District Clerk shall serve a copy of this proposed Findings of Fact and

Recommendation on all parties by sending a notice of electronic filing and retain the receipt of notice

of electronic filing. Within ten (10) days after receipt of the magistrate judge’s report, any party may

serve and file written objections to the findings, conclusions and recommendations contained in this

report. A party’s failure to file written objections to the findings, conclusions and recommendations

contained in this report within ten days after being served with a copy shall bar that party from de

novo review by the district judge of those findings, conclusions and recommendations and, except

on grounds of plain error, from appellate review of unobjected-to factual findings and legal

conclusions accepted and adopted by the district judge. Douglass v. United States Auto Ass’n., 79

F.3d 1415, 1430 (5th Cir. 1996) (en banc).


            So ORDERED and SIGNED this 25 day of October, 2006.



                                                            ____________________________
                                                            JUDITH K. GUTHRIE
                                                            UNITED STATES MAGISTRATE JUDGE


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